Carla G. McClurg, CSB# 227738
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         Attorney for Gail Brehm Geiger, Acting United States Trustee for Region 18




                          UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF OREGON

 In re                                             Miscellaneous Case No. 15-304-pcm

 Thomas McAvity                                    STIPULATION FOR ENTRY OF
                                                   ORDER REQUIRING: (i) 30-DAY
                                                   CESSATION OF INTAKE OF
                                                   CERTAIN NEW CHAPTER 13
                                                   CLIENTS, (ii) CERTIFICATION OF
                                                   WEEKLY REVIEW OF HEARING
                                                   AND DEADLINE CALENDARS,
                                                   AND (iii) LEGAL EDUCATION


         Acting United States Trustee for Region 18 Gail Brehm Geiger (the “UST”) and Thomas

McAvity (“McAvity”) hereby represent and stipulate as follows:

                                         Stipulated Facts
         1.     McAvity is a member of the Oregon State Bar and is admitted to practice in the

District Court for the District of Oregon. McAvity was admitted to the Oregon State Bar on

September 12, 2000.

         2.     McAvity is also a member of the Washington State Bar and is admitted to practice

in the District Court for the Western District of Washington. McAvity was admitted to the

Washington State Bar on July 12, 2004.




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       3.       The UST conducted a Fed. R. Bankr. P. 2004 examination of McAvity on

November 2, 2015 in connection with the case of In re Micah David Blank and Julie Anna

Blank, Bankruptcy Court for the District of Oregon Case No. 15-32345-pcm13 (the “Blank

Case”). By agreement, McAvity agreed to testify regarding the UST’s concerns in several other

cases identified by the UST and regarding general concerns of the UST regarding McAvity’s

practices.

       4.       McAvity filed articles of incorporation for Northwest Debt Relief Law Firm, P.C.

(“NW Debt Relief”) with the Oregon Secretary of State on September 17, 2009. McAvity is the

sole shareholder and president of NW Debt Relief.

       5.       NW Debt Relief is the law firm through which McAvity practices bankruptcy

law. NW Debt Relief employs two attorneys in addition to McAvity and several support staff

members.

       6.       The principal place of business of NW Debt Relief is 2225 NE Alberta Street,

Suite A, Portland, Oregon (the “Portland Office”). NW Debt Relief also maintains offices in

Tukwila, Washington; Tacoma, Washington; Vancouver, Washington (the “Vancouver Office”);

and Salem, Oregon.

                        In re Micah David Blank and Julie Anna Blank,

             Bankruptcy Court for the District of Oregon Case No. 15-32345-pcm13
       7.       Micah David Blank and Julie Anna Blank (the “Blanks”) live in Baker City,

Oregon.

       8.       The Blanks electronically signed a retainer agreement with NW Debt Relief on

May 12, 2015, for NW Debt Relief to represent them in a chapter 13 bankruptcy case.

       9.       McAvity emailed to the Blanks a chapter 13 petition, Exhibit D, Chapter 13 Plan,

and Chapter 13 Statement of Current Monthly Income (the “CMI Form”) on or about May 12,

2015. The chapter 13 petition, Exhibit D, and the CMI Form provided to the Blanks contained




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typewritten dates of May 12, 2015. McAvity did not email the Statement of Financial Affairs or

Schedules A through J (the “Schedules”) to the Blanks for signature.

       10.     The Blanks signed the petition, Exhibit D, Chapter 13 Plan, and CMI Form and

mailed those documents to McAvity by first-class U.S. mail from Baker City, Oregon to the

Portland Office on or about May 13, 2015. Because McAvity did not provide the Blanks with

the Statement of Financial Affairs or Schedules, the Blanks did not sign them.

       11.     On May 13, 2015, McAvity electronically filed with the Court for the Blanks a

chapter 13 petition, Exhibit D, CMI Form, Schedules, Statement of Financial Affairs, Chapter 13

Plan, and related documents (the “Blank Bankruptcy Documents”). McAvity inserted a “/s/” in

the locations on the Blank Bankruptcy Documents requiring the Blanks’ signatures, thereby

representing that he had the original documents containing the Blanks’ original “wet” signatures

in those locations.

       12.     McAvity did not have original “wet” signatures in his possession on any of the

Blank Bankruptcy Documents when he filed them electronically.

       13.     McAvity electronically signed the Blank Bankruptcy Documents where an

attorney’s signature was required.

       14.     On June 26, 2015, the Blanks appeared for their meeting of creditors in Pendleton,

Oregon. Toni D. Skinner (“Skinner”) attended the meeting of creditors with the Blanks as

appearance counsel.

       15.     The Blanks testified during the meeting of creditors that they had not received any

paperwork from McAvity to go over and were not sure what was included in the bankruptcy.

The Blanks further testified that the first time they reviewed the Blank Bankruptcy Documents

was on Skinner’s phone five minutes before the meeting of creditors. The Blanks testified that

they were under the impression that McAvity would attend the meeting of creditors with them

and explain everything.




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       16.      On July 22, 2015, McAvity re-filed the original Schedules and Statement of

Financial Affairs to reflect that the Blanks had not signed them before they were filed.

       17.      On July 23, 2015, McAvity filed amended Schedules and an amended Statement

of Financial Affairs that showed the Blanks had signed them on July 16, 2015. McAvity

provided copies of the signed documents bearing the Blanks’ original signatures to the UST.

                    In re Andrew Francis Meyer and Jillana Tappan Meyer,

             Bankruptcy Court for the District of Oregon Case No. 15-63176-tmr13
       18.      Andrew Francis Meyer and Jillana Tappan Meyer (the “Meyers”) filed a

voluntary chapter 13 bankruptcy case on September 21, 2015.

       19.      McAvity represents the Meyers in their chapter 13 case.

       20.      The meeting of creditors in the Meyers’ case was scheduled for November 5,

2015 at 9:00 a.m. (the “First Meeting”).

       21.      The Meyers appeared at the First Meeting. Neither McAvity nor any other

attorney appeared at the First Meeting to represent the Meyers.

       22.      McAvity’s failure to arrange for counsel to appear with the Meyers at the First

Meeting caused the Meyers to have to attend a continued meeting of creditors and resulted in a

continuation of the previously scheduled confirmation hearing.

       23.      On November 9, 2015, the Court entered an Order to Show Cause in the Meyers’

case requiring McAvity to appear and show cause at a hearing on January 5, 2016 as to why his

fees should not be reviewed, reduced, denied, and/or other appropriate sanctions ordered for

failure to appear at the First Meeting (the “Meyer OSC”).

                                In re Rebecca Suzanne Seraphine,

    Bankruptcy Court for the Western District of Washington Case No. 15-42758-PBS
       24.      On June 8, 2015, Rebecca Suzanne Seraphine (“Seraphine”) met with McAvity at

the Vancouver Office and signed her chapter 13 petition, schedules, statements, and related

documents (the “Seraphine Bankruptcy Documents”). However, Seraphine was not sure that she


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wanted to file bankruptcy. McAvity agreed not to file the Seraphine Bankruptcy Documents

until Seraphine authorized him to do so.

       25.     McAvity filed the Seraphine Bankruptcy Documents in the Bankruptcy Court for

the Western District of Washington on June 9, 2015, without Seraphine’s authorization.

Seraphine learned that the case had been filed after she received notification that her bank

account was frozen due to her bankruptcy filing.

                     In re Joseph Calvin Benoit and Deanna Louise Knight,

           Bankruptcy Court for the District of Oregon Case No. 15-34611-pcm13
       26.     McAvity filed a chapter 13 petition for Joseph Calvin Benoit and Danna Louise

Knight on September 30, 2015 (the “Benoit/Knight Case”).

       27.     The Court entered an order in the Benoit/Knight Case on October 1, 2015,

requiring the filing of the missing schedules, statements, and other documents (the “Missing

Documents”) by October 15, 2015.

       28.     The Missing Documents were not timely filed, and the Benoit/Knight Case was

dismissed as a result on October 23, 2015.

       29.     On October 27, 2015, McAvity filed a motion to reopen the Benoit/Knight Case.

The motion stated that the Missing Documents had been signed by the debtors but were not filed

by McAvity’s office.

       30.     McAvity represents that NW Debt Relief paid the reopening fee in the

Benoit/Knight case and did not require the debtors to pay the fee.

                   NW Debt Relief’s Chapter 7 Pre-petition Fee Agreements
       31.     As of the date of McAvity’s Fed. R. Bankr. P. 2004 examination, NW Debt

Relief’s form chapter 7 fee agreement (the “Chapter 7 Fee Agreement”) gave clients the option

to not pay all attorney’s fees pre-petition. In cases in which clients elected not to pay all

attorney’s fees before the petition date, the Chapter 7 Fee Agreement provided that NW Debt

Relief’s contractual responsibilities ended upon completion of the filing of the client’s chapter 7


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case, but that NW Debt Relief would be professionally obligated to serve as counsel until the

Court allowed NW Debt Relief to withdraw.

          32.   The Chapter 7 Fee Agreement provided clients who elected not to pay pre-petition

fees in full with three options after the bankruptcy case was filed: (i) proceed without counsel,

(ii) retain other counsel, or (iii) enter into a new agreement with NW Debt Relief post-petition.

          33.   McAvity represents that he did not enforce the terms of the Chapter 7 Fee

Agreement and that NW Debt Relief has not discontinued its representation of a chapter 7 client

due to the client’s failure to pay post-petition fees or enter into a post-petition fee agreement.

                                Admissions Regarding Violations
          34.   McAvity admits that he electronically filed the Schedules and Statement of

Financial Affairs representing that the Blanks had signed them when, in fact, the Blanks had not

reviewed or signed them.

          35.   McAvity admits that he violated the Court’s electronic filing requirements and

LBR 9011-4(b) by including the Blanks’ electronic signatures on the Schedules and Statement of

Financial Affairs that had not been signed, thereby misrepresenting that the documents had been

signed.

          36.   McAvity admits that he made inaccurate certifications pursuant to Rule 9011 of

the Federal Rules of Bankruptcy Procedure, LBR 9011-4(b), and the Attorney Registration for
Participation in Electronic Case File (ECF) System (LBR 130) by failing to obtain and possess

the Blanks’ signatures on the Schedules and Statement of Financial Affairs before he filed them.

          37.   McAvity admits that he violated the Court’s electronic filing requirements and

LBR 9011-4(b) by filing the Blanks’ petition, Exhibit D, and CMI Form before he possessed the

original “wet” signed documents at the time of filing them.

          38.   McAvity admits that he failed to calendar the First Meeting in the Meyers’

bankruptcy case and therefore failed to make arrangements for counsel to appear with the

Meyers.


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       39.     McAvity admits that he filed the Seraphine Bankruptcy Documents before

Seraphine authorized him to file them.

       40.     McAvity admits that he failed to timely file the Missing Documents in the

Benoit/Knight Case, which caused the case to be dismissed.

       41.     McAvity admits that NW Debt Relief’s Chapter 7 Fee Agreement does not

comply with the requirements of Oregon LBR 9010-1(e) setting forth the requirements and

procedures in cases in which attorneys agree to represent debtors other than in all matters in a

bankruptcy case.

         Representations of McAvity Regarding Efforts to Improve Office Practices
       42.     McAvity represents that he hired an additional full-time paralegal following the

UST’s initial inquiries in the above cases for the purpose of improving office practices in

calendaring dates and deadlines.

       43.     McAvity represents that he conferred with the Oregon State Bar Professional

Liability Fund (the “PLF”) practice management advisors following the UST’s initial inquiries in

the above cases for the purpose of identifying ways to improve workflow in his office. McAvity

represents that he will implement the recommendations of the PLF practice management

advisors.

                                       Goals of Stipulation
       44.     The UST’s goals in connection with the Stipulation outlined below are to address

the most significant issues identified in the cases reviewed, prompt McAvity to review and

address similar issues arising in other existing cases, and obtain McAvity’s compliance with

pertinent requirements and procedures in future cases. In the event the Stipulation and proposed

order do not prove adequate to meet these goals or McAvity fails to comply with the terms of the

order, the UST intends to seek compensatory and coercive remedies.




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                                 Stipulation re Proposed Order
       45.     Based on the foregoing Stipulated Facts, the UST and McAvity stipulate to

resolving the UST’s concerns regarding McAvity’s conduct in the above-referenced cases as

described herein by the lodging and entry of an Order Requiring (i) 30-day Cessation of Intake of

Certain New Chapter 13 Clients, (ii) Certification of Weekly Review of Hearing and Deadline

Calendars, and (iii) Legal Education (the “Order”) in the form attached as Exhibit 1 hereto that

provides as follows:

       a.      For a period of 30 days immediately following the entry of the Order, McAvity

and NW Debt Relief shall not accept new chapter 13 bankruptcy clients in the District of Oregon

or, for cases in which the meeting of creditors would be scheduled in Vancouver, Washington, in

the Western District of Washington. This provision is not intended to impair McAvity’s and NW

Debt Relief’s ability to accept new chapter 13 bankruptcy clients for cases in which the meeting

of creditors will be held in Seattle, Washington or Tacoma, Washington.

       b.      McAvity shall certify to this Court on a weekly basis for a period of 60 days that

McAvity has personally reviewed the Courts’ hearing calendars and the calendars for meetings

of creditors in the District of Oregon and Western District of Washington. The certifications

shall be filed by Friday of each week for the following week and shall certify that all scheduled

meetings and hearings for NW Debt Relief clients are on the firm’s calendar and appropriate

appearances will be made by counsel. The first certification shall be filed on the first Friday

following entry of the Order.

       c.      McAvity shall review and comply with all rules, procedures, and agreements

involving electronic case filing and document retention, including without limitation, Oregon

LBR 5005-4(e), Oregon LBR 9011-4, and Oregon LBR 9037-1; Oregon’s Administrative

Procedures for Electronically Filing Case Documents (LBR 125); and Oregon’s Attorney

Registration for Participation in Electronic Case File (ECF) System (LBF 130).




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        d.      By March 31, 2016, McAvity shall take three hours of continuing legal education

eligible for ethics credits on the subjects of bankruptcy law or consumer law.

        e.      McAvity and NW Debt Relief shall not accept any Oregon or Washington clients

unless such clients reside within a 60-mile radius of a location of where McAvity and/or NW

Debt Relief maintain a physical law office.

        f.      McAvity shall comply with the requirements of Oregon LBR 9010-1(e) in all

cases in which a client retains McAvity and/or NW Debt Relief for bankruptcy representation

that is limited to less than all matters relating to the case.

        g.      In the event that McAvity fails to comply with the terms of the Order, the UST

may pursue such action as the UST deems appropriate.

        h.      The Stipulation and the Order do not affect the UST’s ability to:

                         i.     Refer McAvity’s conduct to the Oregon State Bar, the Washington

                                State Bar, or the United States Attorney;

                        ii.     Take such action as the UST deems appropriate in any case referenced

                                herein to the extent that such action is not related to the conduct and

                                deficiencies summarized in the Stipulated Facts set forth above; and

                     iii.       Take any action that the UST deems appropriate in any case not

                                referenced herein.

        i.      The Stipulation and the Order do not affect the rights of McAvity’s clients, their

bankruptcy trustees, their creditors, or any interested party.

        j.      The Stipulation and the Order do not affect the Court’s ability to impose

additional sanctions or relief against McAvity on the Court’s own initiative, including without

limitation, the Meyer OSC.

        k.      The Court shall retain exclusive jurisdiction to enforce the terms of the Stipulation

and the Order as well as to hear and adjudicate any motions for their enforcement or contempt

related to the Order.


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       l.      Neither the Stipulation nor the Order are intended to alter, limit, or affect

McAvity’s existing or future obligations under the Oregon Rules of Professional Conduct; the

Washington Rules of Professional Conduct; the Bankruptcy Code; the Federal Rules of

Bankruptcy Procedure; Local Bankruptcy Rules, forms, procedures, and practices; or under any

other Court order.

IT IS SO AGREED:
       THOMAS McAVITY


        /s/ Thomas McAvity                            Dated:    12/30/15
       Thomas McAvity, OSB#001751

       GAIL BREHM GEIGER, Acting U.S. Trustee for Region 18


By:      /s/ Carla G. McClurg                         Dated:     12/30/15
       Carla G. McClurg, CSB #227738
       Trial Attorney




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                           UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF OREGON

In re                                                 Miscellaneous Case No. 15-304-pcm

Thomas McAvity                                        STIPULATED ORDER REQUIRING:
                                                      (i) 30-DAY CESSATION OF INTAKE
                                                      OF CERTAIN NEW CHAPTER 13
                                                      CLIENTS, (ii) CERTIFICATION OF
                                                      WEEKLY REVIEW OF HEARING
                                                      AND DEADLINE CALENDARS, AND
                                                      (iii) LEGAL EDUCATION


        Based on the Stipulation for Entry of Order Requiring (i) 30-day Cessation of Intake of

Certain New Chapter 13 Clients, (ii) Certification of Weekly Review of Hearing and Deadline

Calendars, and (iii) Legal Education (the “Stipulation”) between Acting United States Trustee for

Region 18 Gail Brehm Geiger (the “UST”) and attorney Thomas McAvity (“McAvity”) in his

own personal capacity and as the principal of Northwest Debt Relief Law Firm, P.C. (“NW Debt

Relief”), now therefore,

/ / /


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       IT IS HEREBY ORDERED that:

       1.      For a period of 30 days immediately following the entry of this Order, McAvity

and NW Debt Relief shall not accept new chapter 13 bankruptcy clients in the District of Oregon

or, for cases in which the meeting of creditors would be scheduled in Vancouver, Washington, in

the Western District of Washington. This Order is not intended to impair McAvity’s and NW

Debt Relief’s ability to accept new chapter 13 bankruptcy clients for cases in which the meeting

of creditors will be held in Seattle, Washington or Tacoma, Washington.

       2.      McAvity shall certify to this Court on a weekly basis for a period of 60 days that

McAvity has personally reviewed the Courts’ hearing calendars and the calendars for meetings of

creditors in the District of Oregon and Western District of Washington. The certifications shall

be filed by Friday of each week for the following week and shall certify that all scheduled

meetings and hearings for NW Debt Relief clients are on the firm’s calendar and appropriate

appearances will be made by counsel. The first certification shall be filed on the first Friday

following entry of this Order.

       3.      McAvity shall review and comply with all rules, procedures, and agreements

involving electronic case filing and document retention, including without limitation, Oregon

LBR 5005-4(e), Oregon LBR 9011-4, and Oregon LBR 9037-1; Oregon’s Administrative

Procedures for Electronically Filing Case Documents (LBR 125); and Oregon’s Attorney

Registration for Participation in Electronic Case File (ECF) System (LBF 130).

       4.      By March 31, 2016, McAvity shall take three hours of continuing legal education

eligible for ethics credits on the subjects of bankruptcy law or consumer law.




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        5.      McAvity and NW Debt Relief shall not accept any Oregon or Washington clients

unless such clients reside within a 60-mile radius of a location of where McAvity and/or NW

Debt Relief maintain a physical law office.

        6.      McAvity shall comply with the requirements of Oregon LBR 9010-1(e) in all cases

in which a client retains McAvity and/or NW Debt Relief for bankruptcy representation that is

limited to less than all matters relating to the case.

        7.      In the event that McAvity fails to comply with the terms of this Order, the UST

may pursue such action as the UST deems appropriate.

        8.      This Order and the Stipulation do not affect the UST’s ability to:

                       i.     Refer McAvity’s conduct to the Oregon State Bar, the Washington

                              State Bar, or the United States Attorney;

                      ii.     Take such action as the UST deems appropriate in any case referenced

                              herein to the extent that such action is not related to the conduct and

                              deficiencies summarized in the Stipulated Facts set forth above; and

                     iii.     Take any action that the UST deems appropriate in any case not

                              referenced herein.

        9.      This Order and the Stipulation do not affect the rights of McAvity’s clients, their

bankruptcy trustees, their creditors, or any interested party.

        10.     This Order and the Stipulation do not affect the Court’s ability to impose

additional sanctions or relief against McAvity on the Court’s own initiative, including without

limitation, the Order to Show Cause entered by the Court on November 9, 2015 in the case of

In re Andrew Francis Meyer and Jillana Tappan Meyer, Bankruptcy Court for the District of

Oregon Case No. 15-63176-tmr13, requiring McAvity to appear and show cause at a hearing on

January 5, 2016 as to why his fees should not be reviewed, reduced, denied, and/or other


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appropriate sanctions ordered for failure to appear at the first meeting of creditors.

        11.    The Court shall retain exclusive jurisdiction to enforce the terms of the Stipulation

and this Order as well as to hear and adjudicate any motions for their enforcement or contempt

related to this Order.

        12.    Neither this Order nor the Stipulation are intended to alter, limit, or affect

McAvity’s existing or future obligations under the Oregon Rules of Professional Conduct; the

Washington Rules of Professional Conduct; the Bankruptcy Code; the Federal Rules of

Bankruptcy Procedure; Local Bankruptcy Rules, forms, procedures, and practices; or under any

other Court order.


IT IS SO STIPULATED:

        THOMAS McAVITY


         /s/ Thomas McAvity                           Dated:     12/30/15
        Thomas McAvity, OSB#001751


        GAIL BREHM GEIGER, Acting U.S. Trustee for Region 18


By:       /s/ Carla G. McClurg                        Dated:     12/30/15
        Carla G. McClurg, CSB #227738
        Trial Attorney


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I hereby certify that I have complied with the requirements of LBR 9021-1(a)(1)(B).

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Presented by:

GAIL BREHM GEIGER
Acting United States Trustee for Region 18


/s/ Carla G. McClurg
Carla G. McClurg, CSB #227738
Trial Attorney
U.S. Department of Justice
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Copies to:

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Northwest Debt Relief Law Firm, P.C.
2225 NE Alberta Street, Ste. A
Portland, OR 97211




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